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UNITED STATES OF AMERICA NY
UNITED STATES DISTRICT CouRT
FOR THE EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

 

CHARLES DEXTER INGRAU,
Petitioner, Case No, 2£:15-11074
“VEr Honorable DAVID M,. LAWSON
JOE BARRETT,

Respondent.

 

Assistant Attorney General Petitioner, In Pro se
Bruce i}. Bdwards, CHARLES DEXTER INGRAM #625646
Criminal Appellate Division Cooper Correctional Facility
P.Q. BOX 30217, 3100 Cooper Street
Lansing, Michigan 48909 Jackson, Michigan

49201]

 

PETITIONERS RESPONSE TO RESPONDENTS ANSWER IN OPPOSITION
TO AMENDED PETITION FOR WRIT OF HABEAS CORPUS

| EL E

APR 24 2017

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U.S. DISTRICT COURT

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Shield law did in fact deprive Petitioner of .a

rape~

fair

trial where the only issue at trial was whether the sex

between Petitioner and the victim was consensual.

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Iv. . ; . . .

v A claim that one is actually innocent is a cognizable
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x.

Under the highly deferential standard of Strickland v.
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rejection of Petitioner's claim that appellate counsel
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none of the omitted issues was reasonably likely to
lead to a different result if raised on direct appeal.

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INTERODUCTION

On July 10, 2008, Petitioner Charles ingram, who was in his
late 40s, was accused of restvaining 17-year-old BJ and groped |
her breasts, and touching her vaginal area over her clese and
then pulling her pants down and penetrating her vagina with his
penis.

After a 4-day jury trial in Saginaw County, Michigan cirecuic
court, the petitioner was convicted of two counts of fourth-
deyree Crininal sexual conduct, Mich. Comp. Law § 750.520e(1) (a);
ang one count of third-degree criminal sexual conduct, Mich.
Comp. Laws § 750.520d(1)(b).

On danuary 30, 2012, petitioner was sentenced to prison terms
totaling 7 to 15 years. The State of Michigan new holds |
Petitioner in custody in The Michigan Depart of Corvcections.
Petitioner commenced an action under 28 U.3.C. § 2254 by filing a
petition with this Court in March of 2015. After a "stay and
abey," Petitioner has by court erder returned to this court and
filed an amended petition on Pebruary 3, 2017, which raises seven
additional claims totaling a total ef the following 10 claims:+
I. There was insufficient evidence to justify a reasonable

juror concluding that all elewents of the crime of criminal
sexual conduct in the third degree and fourth degree was
established beyond a reasonable doubt and all the state

courts demstrated an unreasonable application et
precedential federal law set forth in Jackson v. Virinia.

Il. Petitioner's verdict was againat the great weight of the
evidence and the state court demonstrated an unreasonable
determination of the £acts of the case.

 
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Ill,

IV.

vi.

VII.

Vili.

IX.

Petitioner's rights to a fair trial were infringed upon by
the improper denial of the motion in limine relative to the

introduction of evidence of the victim's Peior sexual |

history with thicd parties and in particular her prior
Claims of pregnancy.

Petitioner's conviction is a product of one beiny
incarcerated whom is actually innocent [as] the acts that
eceurred Petitioner halds were consensual and that

Petitioner did net have the malice iutent or the mens res!

of the act that he was convicted of. The presecution failed
to established these specific acts of intent eausing a
miscarriage of justice also sowe testimony was a product of
perjucy and resulting in a Napuue vielation and one was
convicted by the violation and denied a fair trial.

Defendant's conviction should be vacated and he should be
granted a new trial because he was subjected to deuble
jeopardy in violation of the Pifth Amendment of the United
states Constitution, where he was subjected to multiple
presecutions for the same offense.

Defendant did not receive the effective assistance of tvial

counsel when counsel failed te object when the court gave a |

jury instruction that permitted the jury to find him guilty
even if they were net in unanimeus agreement on each
charge.

Defendant did not receive the effective assistance ef trial
counsel when counsel failed te impeach [the] complainant
with her preliminary examination testimony, when ohe
testified at his trial, and when counsel failed to point

out the discrepancies between complainant's preliminary |

examination testimony and her trial testimony, when it came
out at trial at hec closing argument.

Defendant dig not receive the effective assistance of trial
counsel when counsel failed to do a proper dnvestigation
and present facts contained in documents that negated [the]
complainant's version of events, and therefore, she should
not have been believed.

the trial court impcoperly scored the offense variable 13
and prior record variable 7 making the guidelines incorrect
in violation of Defendant's Sixth and Fourteenth Amendment
eighis.

Defendant did not receive the effective assistance of
appellate counsel when counsel] did not raise the issues he
now raises.

fhe Petitioner Now wakes his response te Respondent's Answer

to Petitioner's Amended Petition and requests that it be

considered as part of petilioner's original Habeas Corpus as

L.

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ORDERED fellowing exhaustion of state remedies, ORDERING the
Cievck to reopen this case for statistical purposes, and
adjudication of the issues therin.

COUNTER STATEMENTS IN COMPLIANCE WITH HABEAS RULE 5(b)

With respect to the alleged procedural bars that preclude
habeas ceview, the Attorney General, attorney for the respondent,
asserts the following as if in conformity with Habeas Rule 5(b):
ang Stated the follewing.

A. Statute of Limitations

1. Argument
The State asserts that any consideration of claims IV, Vv, IX, and
X are barred because they were caised for the first time after
the expiration of AEDPA's statute of limitations.

A. Counter Argument

it is true that the AEDPA provides that a "l-year period of
limitation shall apply te an application for a writ of habeas
corpus by a person in state custody pursuant to the judgment of a
state court." 28 U.S.C. § 2244(d)(1). The attorney for the
Respondent fCurther's states, "If a claim is not filed within the
one-year statute of limitations, it must be dismissed. See Akrawi
v. Booker, 572 P.3d 252, 260 (Gth Cir. 2009)".

It iS also true that when Petitioner filed his Original writ
Os Habeas Corpus the court clerk veceived and  docketed
petitioner's petition on March 20, 2015, but because of the
“prison mailbox cule", the petition is considered £iled the dated
petitioner signed and dated the petition and given to prison
officials even if received and decketed on ai latter date.

Williams v. Birkett, 670 .3d 729, 732 u.l (6th Cic. 2012);

Or

 
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Hudson v. Martin, 68 F. Supp. 2d 798, B00 n.2 (E.D. Mieh.1999),
The Petitionerc alleged in his original habeas corpus petition

raising the following three claims:

ZI. The evidence was insufficient to Support the
jury's verdict of guilt en the eriminal sexual
conduct charges;

II. he verdict was against the great weight of the
evidence;

III. The petitioner's due process right to a fair trial
waS violated by the denial of his motion to
introduce evidence of the complaining witness's
prior sexual history and claims of pregnancy.

The petitioner exhausted his atate court remedies on thes
Claims I-III, presented in his original petition during tha
Course Of his direct appeal. Hewever, there was a fourth clain
described in his motion to stay that was not presented to tha
utale courts, due to the ineffective assistance of his appellate
counsel. It should be noted upon the initial filing, but after
the filing of petitioner's motion ta slay he discovered other
poCential claima that required exhausting. Petitioner requested
this court to stay and hold his petition in abeyance while he
exhausts his state court remedies on these other additional
claims, that, f£or unspecified reasons, his trial and appellate
counsel was ineffective.

It is also true that when this Court geanted its "stay and
abey" order it stated that Petitioner had filed his habeas
petition with only 1l days remaining in the statute of
dimitetions.

The kespondent's argument that petitioner's statute ar

 
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|

limitation must fail because the doctrine of exhaustion of stat
remedies requires state prisoners to "fairly present’ theit
claims as federal constitutional issues in the state courts
before raising those claims in a federal habeas corpus petition
see 28 U.S.C. § 2254(b)(1)(A),(c)3; O'Sullivan v. Boerckel, 52
U.S. 838, 844 (1999); McMeans v. Brigano, 228 F.3d 674, 680-8]
(6th Cir. 2000); Rust v. Zent, F.3d 155, 160 (6th Cir. 1994), whe
exhaustion requirement is satisfied if a prisoner invokes |
complete round of the state's established appellate review
Process, including a petition for discretionary ceview to a statd
Supreme court. See O'Sullivan, 526 U.S. at 845, 847. A prisoned

“'fairly presents' his claims to the state court by citing 4a

portion of the Conatitution, federal decisions using
constitutional ahalysis, Or state decisions employing

constitutional analysis in similar fact patterns." Levine v.
Torvik, 986 F.2d 1506, 1516 (Gth Circ. 1993): see also Prather v.
Rees, S22 F.2d 1418, 1420 (6th Cir 1987)(holding that
"{ojedinarily, the state courts must have had the Opportunity td
pasS on defendant's claims of constitutional violations").
Petitioner had no choice but to present each ground to the State
Circuit Court and both Michigan appellate courts before seeking
federal habeas corpus celief. Wagner v. Smith, 581 F.3d 410, 414
(Gth Cir. 2009); Mohn v. Bock, 208 F. Supp. 24d 796, S800 (B.D.
Mich. 2002); see also Hafley v. Sowders, 902 F.2d. 480, 463 (6th
Cir. 1990). It ia well understood, that petitioner bears the
burden of showing that his state court cemedies have been

exhausted. Rust, 17 F.3d at 160.

 
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it 48 true, that the £iling of a federal habeas corpub
petition does not suspend the running ef the one-year Limitations
period under 28 U.S.C. § 2244(d)(2). See Duncan v. Walker, 53
U.S. 167, 181-82 (2001). However, the ouprenme Court's decision i
Duncan dees not prevent district courts £row “retainling
Jurisdiction over a meriterious claim and stayling] proceeding$¢
pending the complete exhaustion of state remedies," or £roh
"deeming the limitations period tolled for [a habeas) petition ad
a watter of equity." Id. at 102-83 (Stevens,d., concurring).

The Supreme Court nonetheless has caution that a Stay i
“available only ia limited circumstances,” such as “when the
Gistrict court determines there was good cause for thd
petitioner's failure to exhaust his claims first in the Statd
court,” the unexhausted claims are not “plainly meritless," and
petitioner is not “engaged[d] in abusive ditigation tactics on
intentional delay," Rhines v. Weber, 544 U.S. 269, 277-78 (2005).

the Sixth Circuit has advised that it is preferable for a
district court to dismiss the unexhausted claims, retain
jurisdiction over the exhausted claims, and Stay proceedinga
pending exhaustion where to do otherwise would jeopardize the
timeliness of a subsequent petition. See Griffin v. Rogers, 308
P.3d 647, 652 & OGS2nl (Gth Cire. 2002); see also Palmer v.
Carlton, 276 F.3d 777, 781 (Gth Civ. 2002)(£inding it “eninently
reasonable" to dismiss unexhausted claims in a habeas petition
and stay proceedings on the remaining claims pending exhaustion
of the state court remedies). The court of appeals recently

ceiterated this point: and is essentially the same argument that

 
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ig consistence with the petitioner. Which states:

"(ijk the petitioner had good cause for his failure to
exhaust, his unexhausted claims are potentially
meritorious, aud there is no indication that the
petitioner engaged in intentionally dilatory litigation
tactics ... the district court should Slay, vather than
dismisa, the mixed petition." [Rhines v. Weber, 544
UeSej at 278, 125 &. Ck. 1528. his is because "(ijn
such circumstances, ... the petitioner's interest in
ebtaining federal rceview of his claims outweighs the
competing interests in £inality and apeedy resolution
of federal petitions." Id.; see also Wagner, 581 F.3d
at 419 (considering a mixed habeas petition and
"notling] that Petitioner's claims, particularly those
unexhausted claims, are not ‘plainly meritless,'" go
"assuming Petitioner's claims, particularly the
unexhausted claims, are not ‘plainly meritless,"' 80
“assuming Petitioner can show good cause for failing to
present these claims io the state court in the first
instance, we see no reason why the districk court
Should not grant a ‘stay and abeyance’ while Petitioner
exhausts in state court, should Petitioner opk against
dismissing his unexhausted claims." (citation and
footnotes omitted)).

The Michigan Court Rules provide a precess by which the
petitioner may cvaise his unexhausted claims. The petitioner way
file a motion for celief from judgment under Subchapter 9.900 of
the Michigan Court Rules, which allows the trial court to appoing
counsel, seek a vesponse £rom the PEOSecutCor, expand the record,
permit oral argument, and conduct an evidentiary hearing on the
petitioner's claim. Whe petitioner may appeal the trial court's
disposition of his motion for relief Ceom Judgment to the
Michigan Court of Appeals and the Michigan Supreme Court, and he
may thereafter file a petition for writ of certiorari in the
United States Supreme Court. To obtain relief in state cOUurk, he

will have to show cause for failing to raise his unexhausted

 
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possibility of innocence. See Mich. Ct. R. 6.508(D)(3). However

the

petitioner having to make a similar showing to this

concluding that there was a state remedy to exhaust. As

this court warns by stating:

pelition on March 16, 2015, eleven months and twenty days after

his

after review of petitioners motion te stay realizes petitioned

only had at this time only a ll day window to file a

The statute of limitations under 28 U.S.C. § 2244(da)(1)
should give petitioner cause for concern. The Michigan
Supreme Court denied the petitioner's application for
leave to appeal on December 23, 2013. That decision
became final on March 23, 2014, when the time durang
whach the petitioner could have filed a petition for a
writ of certiorari in the United States Supreme Court
expired. The one-year limitations period commenced en
the f£ollowing day, March 24, 2014. See Bronaugh vy.
Ohio, 235 F.3d 280, 264-85 (Gth Cie. 2000) (helding that
the last day on which a petitioner can file a petition
foe writ of certiorari in the United States Supreme
Court is not counted toward the one-year limitations
period applicable to habeas corpus petitions).

Thig Court goes on to say, "The petitioner E£iled the present

conviction became £Linal". It should be noted that this court

velief from judgment when it stated:

"His motion to stay indicates that he has not yet filed
any motion for velisf from judgment as to his new
unexhausted claiws in the trial court".

A curious statement by this court and also an improbability

when it goes on to say,

"Once the state trial court cesolves any proSpective
motion that ie may Eile, the petitioner has 21 days
from the date of the state trial court's decision to
appeal the trial court's ruling. Mich. Ct. R. 6.509(A),
7.205(A)(1)."

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motion £od

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This court goes on to say, "If the Court does not toll the

limitations peried during the pendency of the state court
proceedings, than the applicable one-year limitations periog
likely will have expired and any subsequent habeas petition filed
by him would be untimely, by the time that the state court
resolves any appeal from the trial court's denial of his second
wotion for velief Crow judgment. The respondent has not opposed
the petitioner's vequest for a stay of preceedings.

There are some faulty veasoning with the cespondent's
reasoning excluding but not limited to, a couple of procedural]
error in quantitate as follows:

First:

* This court did not place a time limit to £ile
petitioner's first and only 6.500 motion for relief£
from judgment into the trial court but instead, it
inferred a 21 day time limit to £ile an application
of appeal inte the Michigan Court of Appeals once a
decision was made at the trial court level. Under the
Michigan Court Rules, 7.205 (a)(1).

e The error in ceasoning is, (even if it is meant to be
literal), most if not all, schooled license attorneys
could not make this deadline, and petitioner was
filing an application fer leave to appeal on
(collateral review) (which allows a 6 month time
peciod) as there is ne cight to the Michigan Court of
Appeals on collateral review, appeal, it's by leave
only. MCR 7.205(G)(1)(2).

Secondly:

* This court was well aware of Petitioner's remaining
Lio days when granting its “stay and abey" order of
petitioner's prier filed wmotien and Habeas Corpus
petition, Petilioner'ts vemaining 11 days en the
Statute of limitations wust have been at issue as it
was commented on and included the exact nature of

tolling the limitations per biod during the pendency of
the slate court proceedings

° Accordingly, for some unknown veason this court
was/is under the ineorrect assumption that this was
petitioners secend successive motion for relief from

 
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Oy

judgment, when it fact, it was petitioners first and
only motion for relief from judgment.

At the time of petitioner's motion to stay there was no
Oppesition from the rcespondent challenging the tolling of thé
statute of limitations concerning the “stay in abeyance petition

While petitioner veturns to the state court to exhaust his

 

unexhausted claima"” therefore, as written all so well in the
AsSistant Attorneys General argument and answer/response in hi
Oppesition to petitioner's amended petition for write of habea
corpus, "This claim is therefore now abandoned. See Sommer Wd
Davis, 317 F.ed 686, 691 (6th Cir. 2003)(holding that an iasue id
abandoned if a party does not present any argument reagpecting the
issue in his brief). “Applying the same standard equally with
respects fo the alleged proceduval bars that preclude habead
review.

AL the time of petitioner's motion to hold his petition in
abeyance petitioner alleyed three claims in his original petitioa
that were exhausted, but had other claims that were not,
deserioing only a few to satisfy the meaning, '"“not appear to bd
“plainly meritless,"' Wagner v. Smith, 581 F.3d 410, 419 (6¢t
Cic. 2009). In order to show cause petitioner asserted the reason
kor the new clains wag due to the alleged inefllective assistaned
of his appellate counsel. Id. at 419, n4 & 5. In this courts 2014
(29, o£ April), opinion and order, it is clear to this court that
petitioner was not engaged in any "intentionally dilatory

tactics", and determined that in cases with unexhausted claims it

 
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iS appropriate to. stay pending exhaustion of state court
remedies, warning petitioner of reasonable time limits on
petitioner's trip back to the state court's. Rhines, 544 U.S. at
278. This court went on and imposed time limitations within which
he must proceed with his state court post-conviction proceedings.
See Palmer v. Carlton, 276 F.3d 777 (Gth Cir. 2002). Accordingly,
it was the ORDER of this court that the petilioner's motion to
held the petition in abeyance [dkt.#2] is GRANTED. Furthermore,
Chis court ORDERED this case CLOSED for statistical purposes to
avoid administrative difficulties. It was also ORDERED that
petitioner must file an amended petition in this Court within
twenty-eight (28) days after the cenclusion of the state court
proceedings. It also stated, "if petitioner files an amended
petition, the cespondent shall file an answer addressing the
allegations im the petition in accordance with Rule 5 e@£ the
Rules Governing Section 2254 Cases in the United States District
Court within £ifty-six (56) days thereafter.

Pelitioner's claims IV, V, IX, X were timely filed because

it's the proper precedure whether petitioner filed one issue of

ten issues. It all "“velates back" to his original habeas corpus |

petition pleading(s) and motion to hold in abeyance while
allowing petitioner to asserts new unexhausted greunds for celief
Supported by the facts that may differ in concept but are exactly
“same core operative facts." Respondent is under the
misconception that petitioners amended habeas pelition does net

relate back (and thereby escapes AEDPS's one-year Cime Limits).

Pederal Rules of Civil Procedure 15. The same facts remain today |

OF

 
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as they did the day petitioner filed his motion to stay and abey,
The presentation ef new, and/or to present unexhausted claims ig
the whole purpose of the motion to stay and abey in the first
place, to wait until petitioner to compleate another rcound of
COURL proceeding d.e@., Circuit court, and two appellaLe court'd
to acgue @ procedural bar as untimely amended petitien concert
the ALDPA’s limitation that must relate back to his original
petition because there is no where else tse relate in back to.

‘Petitioner claims has nothing to de with the AEDPA's statute
of limitations period nor is it jurisdictional because the clock
Stopped when his original pleadings, Writ of Habeas Corpus unded
26 U.S.C. 2254 was filed and the granting of his motion td
hold/stay and abey his petition until he want back to the stated
court's to exhaust his other claims because the petitioner did
follow this court's order exactly as they were written with the
one exception of the 21 days between the cireuit court and the
court of appeals, It is the petitiener's contention that the only
thing untimely is the response and objections of the respondent.
that should have been argued/presented = at the time of
petitioner's original filing of his habeas petition and motion to
stay and abey.

The respondent said it best when he.pointed out that the
AEDPA'S limitations period is not jurisdictional, so it may be
tolled for equitable reasons. Holland v. Florida, 560 U.S. 6431,
64504Y (2010). A petitioner is entitled to equitable tolling only
if he establishes the following:

"(1) that he has been pursuing his vights diligently,
ang

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(2) that seme extraordinary circumstance stood in his
way and prevented timely filing." Id. at G49
(citation omitted).

The equitable tolling doctrine apples te cases involving statutd
of limitations in fact equitable tolling will not bac a claim iff
petitioner, despite diligent efforts, did not discover the injury
until after the Limitations period had expired.

Again the respondent is correct, when he states:

"A petitioner has the burden of demonstrating
entitlement to equitable tolling. Allen v. Yukins, 366
P.3d 396, 401 (6th Cie. 2004).

Petitioner's responsibility, "obligation" was fulfilled at the
Lime of his Ciling the oviginal weit of habeas corpus and hig
foalion to Stay and akey neting else at that time wag required,
The argunent presented by the respondent is to little to late his
arguent should have been made in the pendency ef his original
habeas and motion te stay and abey was being decided. Respondents
argument must fLail for the simple reason petitioner exercised due
diligence in pursuing § 2254 relief that SUpperts equitable
tolling. Petitioner has followed this courts ORDERS to the best
of his ability, and to say otherwise is speculative because
petitioner was in fact going back to the Michigan Court's to
exhaust his unexhausted claims proving with credible evidence of

actual innocence "tenable actual-innecence”. McQuiggin, 133 &.Ck.

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at 1928. Consequently, this Court should find that consideration

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of claims IV,V,IK, and X*, elaims should be considered and nok

 
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barred on account that the petitioner claims constituted
“eyguitable tolling", and the ABDPA'’s statute of Limitationg
period had not expired.

Nevertheless, petitioner believes that this court would not have
granted his motion to stay and abey it it thought it was vasied
to deny relief on the merits. At tne time of granting the stay
and abey motion this court must have foreseen petitioner’s habead
and argument to hold in abeyance of having legal worth.
Petitioner will now briefly state why the respondent is wrong in
his analysis and proclaim why his clains have merit and should
not be barred by the complexities of the statute of dimitations.

B. Exhaustion

The vkespondent is net arguing that any Of petitioner's habeag
Claims are barred by the Cailure to exhaust a claim for which a
elale Court remedy still existed.

C. Procedural Default

The Respondent asserts that Petibkioner has procedurally
defaulted claims VI,Vil, and VIIil (ineftective assistance of
trial counsel) as explained Lherein his ANSWER IN OPPOSTTION TG
AMENDED PETITION FOR WRIT OF HABEAS CORPUS.

Petitioner's counterclaim as diseus

 

aoand written explanation
herein,
D. Non-retroactivity Doctrine
The Respondent is not arguing that any of Petitioners habeas
claims are barred by the nonecelroactivity doctrine,
STATEMENT OF THE CASE

A. Trial Facts

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when this case was on direct appeal Petitioner's Appellate

a

BS.

Attorney Ciled the following statement of fac

STATEMENT OF FACTS

 

Pre-Trial Motion Regarding Plaintiff£'s Prior Claims
of Sexual Conduct and False Accusations

Attached as Exhibit A is the defendant's Motien in Limine as
to Gvidence of the Victim's Sexual Conduct Pursnant to MCL
490.320), along with a wemocandum of Law in Support. Of note is
the Lact that the wotion provided that the "defendant's Lestinony
in this vegard would establish that the parties had sexual
eélations in the same manner and under similar circumstances of
the sexual conduct at issue in this criminal charge."

in particular, the motion reflects that the subject witnesses
John Noten and Leroy Shepard would have testified regarding
unsupported accusations made by the alleged victim in connection
with a prior sexual encounter with Mr. Shepard. The purpose would
have been to utilise the testimony for impeachment purposes and
that the Shepard testimony would show "the victim's ‘ulterior
motive Lor waking a false charge or prior false accusation of
rape.'" See Exhibit A, pp. 4.

The defendant indicated--as the reasen for the motion--that
the proffered witnesses-~John Moten, Leroy chepard and James
Maxwell would testity concerning the plaintif££'s prior conduct
With xegard to sexual activity. As to Mc. Neten and Mr. Shepard
itt particular, they alse had knowledge of the alleged victin
Making improper and unfounded accusations in celatien to sexual

intercourse, Specifically, it was alleged that the victim was
Spreading untruths about Mc. Maxwell dupregnating her (upon
~ 1

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information and belief, the alleged victim never bore a child of
thai intercourse) and, Eurcthermore, that Mr. Maxwell was stalking
her though none ef the allegations had ever proved Lo have any

factual foundation whatever.

Pollowing argument, the Court merely issued a blanket denial

 

Exhibit B) of the motion in its entirety. A Metion for
Reconsideration of the November 9, 20hL Order was filed on Qr
about November 23, 2011. (see Exhibit €). Yhe Couct wodified its
peor vuling and allowed "the defendant to Leslify as to his past
sexual relations with the complaining witnesa. All other relies
requested by the Defendant ia denied." (See Exhibit D).

None of the witnesses whose testimony was the subject of the
wotion in Limine testified at trial.
Trial Testimony

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cne count ef Thicd

Lf
a

At terial the defendant was convicted of
Degree Criminal Sexual Conduct along with two counts ef Fourth
Gegree Crciminal Sexual Conduct. A person is guilty cf Criminal
Sexual Conduct in the 3rd Degree under NCL 750.520(d)(1)(b) if
the person engages in sexual penetratien with another person and!
if force ec coercien is used to accomplish the sexual
penetration. As a corollary, Criminal Sexual Conduct in the 4th
Degree is sexual conduct with another person where any of the

following exist:
(b) coercion is used to aeccawplish the sexual contact,

Testimony of Bobbie Suette Johnson

AC trial, the fCestimony of the complaining victim was thad

~ TQ =

 
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tne petitioner grabbed the victim's hands and=--just himself -
“pulled down her pants, squeezed her breasts (such that she Wag
allegedly bruised all over her chest) and was able to penetraté
her from behind. (fr., Vol II, pp 40-41). Similarly, she
testified that he continued to grab her hands, touch her vaging
and pull her clothes off. (Tr., Vol II, p 42).
There was not a single witness whe corroborated the testimony
of the victim surrounding the claimed assault.
Hs. Johnson testified that she did not run because “he had my
hands behind my back." ** (Tr., Vol Ii, p 52). Yet, she conceded
that she was never tied up nor hit by the defendant.(Tr., Vol il,
p 52). Aside from later testimony concerning the presence of and
bruise on Ms. Johnson's wrist, there was neo evidence of any Lfored
upon her by the defendant.
Me. Johngen testified that she yelled at the Lime of tha
Claimed assault. In particulac, she testified:
"QO. And you Knew Mr. Alleu was upstairs, correct?
A. Yes,
QO. You didn't yell out for Mr. Allen, did you?

A. I didn't knew Me. Allen's name.

Q@.- Well, you didn't yell out hey help we oc anything,
Gid you?

A. Whe-T mean i'm yelling in the basement, no, stop. If
you can't here Lhat then what?

QO. SQ yeu were yelling in the basement? T'm just
asking, were you

A. I't Supposed te be guiet and nok try to defend
wy sell?

TOR COURT; Ma'am, were you yelling or not?
A. Yes, I was yelling. No one belped me.
QO. Okay. So you were yelling.

A. I'm veady to get off the stand.

 
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Ge Ma'am, I knew this is difficult, but we have to get
through this. Se you were yelling?
A. Yes,

Q. And what were you yelling?
A. Like 1 said, no and step.

Q. And you were yelling this loud enough for somebody
upstairs Co hear you?

Ae J was yelling. My throat was hurtin’.

Q. You were yelling and your throat was bucking because
you were yelling?
.

Ae ¥

(Te., Vol 11, pp. 53-54).

es."

Ms Johnson later testified about the small
dimensions of the house noting:

"Q. Okay. So the house is small enough for yeu bo hear
the front deer knock when you've down in the
ypasement, correct?

A. Yes."

(Tr., Vol Il, p 54).
Hse. Johnson later testified that the defendant-after thid
alleged assault-came to her house and remained there watching
television for three to f£eur hours.(Tr., Vol Ii, p. 52). ther
Was nO Lestimony that-following the alleged assault-she asked hii
to leave her heme cr that she told anyone during that time abouy
the claimed assault.
Trial Testimony of James Allen
The transcript vetlects that a witness, James Allen-~thq
"painter"--was present at the house the whole time and neved
heard any screaming at all.(te., Vol 12, p 161). MNereover, wher
Ms. Johuson returned from the basement, she was not upset of
crying in any way(fre., Vol IT, pp. 162-163).

He testifieds

"QO. Wags she erying?

A. No,

Q-. vid she appear upset?

A. Wo. ae
J. Was she mad?

 
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A, Wo."
(fe., Vol TEL, pp. 162-163).

Trial Testimony of Charles Ingram

Por his part, the defendant voluntarily submitted to cros
j

examination and gave testimony in the trial at which time he
indicated that he and Ms. Johnson engaged in a "mutual busine
proposition."(Ye., Vol IIL, p 20). Following that, the defendan
went back to work and returned upstairs approximately 20 minusteg
later at which time Ns. Johnson was chatting with other people a
the house. Hs. Johnson left the house approximately 1-1/2 te

hours after the completion of the sexual act between the times of

9:30 p.m. and 6:00 p.m.(Te., Vol III, pp 29, 31).

 

Theugh the alleyed victim denied prier sexual relations wilt
Che defendant(@r., Vol Ili, pp 46-47), the defendant made clear
that the parties did have a sexual relationship. In particulac]
the defendant testified as Lollows;

"O. What did happen?

propogitian.
QO. Gkhay?
&.e and when Chat happened, we both agreed,

Q. So did 4

you have cex with her at that point in time?
A. ¥es, I di

id.

Oe And how long nad you been in the basement before you
had sex with her?

Ae Maybe 10 minutes.

fe And how long total were you in the basement with her
before sne went upstairs?

A. Thirty minutes.
@. Just tell us what you did.
A. What £ did is that-=

Q. And whak she did,

 
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A. Okay, and what ae did. she beqan to cub on my
penis. i was bubbing, touching on her breaat, while

Iwas kissing her neck.

QO. Okay?
A. And then when she cipped my pants down and I pulled

wine down little bit and I pulled hers dewn a Little
bit, she went and leaned over the counter, and when
Slie did that, I continued to foreplay, but I never
pul iL ain yet. So then I slapped her on the butt
with it.

QO. Wath your penis?

&e Yeah. And she was twitehing and then I kept teasing
ner, then she ceached and put it in.

Q. She reached around and grabbed your penis and put ait
in?

&e And put it in.”

(Te., Wol IIT, pp 20-22).

On continued direct examinatien the defendant was
questioned about his pricr velationship with the
alleged victim noting:

"QO. You had indicated earlier that you had sex with
Bobbie Johnson on a couple other occasions, is that
correct?

Aw. Yeo, Sir.

Qe On how many previeus occasions prior to July 10,
20087

& There had been two times that we had a sexual
eontackt with each other. Consensual.

Q. If this occurred on July 10, 2008, when were those
other two incidents as best you can cecall?

A. Maybe about a wonth, wonth and a half, probably two
at the most.”

(Te., Vol ILI, pp 42-43).
The Gefendant indicated that he paid her for sexual aCkivily
but not intercourse. (fr., Vol Ill, p 45). The initial oceasioh

testified to at pages 46-47 of the transeript involved tha

ae

alleged victim ceportedly wasturbating on his leg. Ue testified
that he paid her 915,00 for that act. (Tre., Vol III, pp 46-47).

At trial, there were only two witnesses who had any Eirst
hand knowledge of the sexual encounter - - Bobbie Johnson ang
defendant Charles Ingram, Yet the testimony of the alleged

victim's Lather, Bebbie Johnsen, Sve., was illuminating as a
= 20 -

 
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description of why the rape charges were brought. In particular,
the defendant himself was asked whether or not the alleged vack iim
Was upset. The defendant testified (Tr., Vol TI, p 36) that Ma.
Johnson did seem upset at some point when she went upstairs but
he had no idea why.

Trial Testimony of Bobby Johnson, Sr.

“Por his part, however, Bobbie Johnsen, Sr., provided thle

a

trier of fact the veagon tor Ms. Johnsen being upset.
testified as follows;

"Q. You told Charles what you did?
A. ¥es.
QO. What kind of work you had done that day?

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243 6

©

Re ¥

Q- XOu were wailing to get paid and you didn't yet
paid?

A. Didn't yet paid. That's why Lf knew sowething waa
WEOHG >

We 8O how long were you there at that point in tine?

A. About an heur and a half.

Qe An hour and @ half then too?

A. X¥@s. Vhen TIT wenk home.

@e SOQ you are on the front porch, you and Vercie and
your daughter, i8 that correct?

A. Bverybody was outside,

QM. Okay, whoa is everybody?

A. Everybody, the painter, James, he was ovtside,

Vercie, my daughter, Willie everybody outside. It
was hot that day.

Q. Ana were you Joking acound outside?

A. We was asking questions and all that but wasn't
really anybody making ne jokes or nothin'.

Qe dust hanging out, talking?

A. Hanging out, trying Lo get paid.

”
Zz ace

 
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(fre, VOL ID pp 83-85).
Wc. Johnson further testified:

"Q. Amd at no time did your daughter tell you anything
unusual had happened?

Ae WO.

Q. And so you are there an hour an a half, Vercie and
your daughter are there 30-45 winutes?

A. Yeah,

a
z

fhe
~)

QO. And Mr. Ingvam is still there ag
A. ¥ea.”

(fr., Wol IZ, p 85).

Hee Johnson never teatified that he was told by his daughter

at that time that she had been vaped. Furthecmore, he lestif€ier

(fr., Voi 21, pp 88-89) that he spent a considerable time with

his daughter and Me. Ingeam at his howe watching a movie at which

point the alleged victim made no complaint of the defendant
having raped her.

Other Witness Testimony

Other trial witnesses had very little knowledge of the claing

of the alleged victim, Dre. Michelle NeLean was allowed to provid

ay

hearsay testimony at page (Te., Vol If, pp ll4-115) that the
alleged victim claimed Lhat she had been raped and deseribed thie
Cladwed assault. Despite a Limely objection, the Court indicatetl
"Noled. Go ahead and answer the question. "(Tr., Vol I1, pp 114).

The emergency physician Saw no scrapes, no bleeding er any

injucies other that a claimed contusion the size of a Eingertips

S

(Te,, Vol II, pp 118). Notably absent was any evidence ef an
trauma to the plaintiff£'s vaginal area. (Tre., Vol II, pp 119

120).

 
OF

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No witness corroborated any of the following tacts:

a. Force with regard to the contact or penetration;

b. Coercion used to accowplish the sexual contact or
penetration.

G
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That the alleyed victim ever screamed or showed any

Signs consistent wilh having just been assaulted in
the hours immediately following hee intercourse with
the defendant.

indeed, the vecurd was silent regarding any coercion save the
purported testimony of Ms. Johnson alene.

Pollowing proofs and deliberation, the jury ceturned 4
verdict of guilty on three counts of criminal sexual conduct
third deyree and Courth degree.

The defendant filed ai motion fer directed verdict oft
acquittal following conviction pursuant to MCR 6.419 as well asa
wollen Loc new trial via MCR 6.431,

A. Procedural History

Petilioner was convicted of one count of CSC ITI and Liv
COUNES OF COC IV. The trial court sentenced him to 7-15 years fot
Coe Iti and to coneuccent cerms of L3-ld months for the CSc iy
convictions,

Pollowing his convictions and sentence, Petitioner filed with

the trial court a motion for directed verdict of acquittal and 4

 

tiotion Lor a mew trial. The trial court denied the Motion. Peopl
ve Ingram, No. O6-O31317-FH, Saginaw County Cir. Ch. Order (Oat
3, 2012).

4.

Petitioner subsequently filed ai claim of appeal in th

  

Michigan Court of Appeals, which vaised his first theee habeas

Glaius,.

 
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the Michigan Court of Appeals affirmed Ingram's convictiong
in an unpuublished opinion. People v. Ingeam, 2013 WL 3717793.

Pekilioner subsequently filed an application for leave
appeal in the Michigan Supreme Couct which raised the same thre¢
cloims as in the Michigan Court of Appeals, The Michigan Suprem¢
Court denied the application because it was nok persuaded that
Lhe questions presented sheuld be veviewed by the Court. Peoplé
ve. Ingram, 940 WoW. 20, 336 (Mich. 2013).(Unpublished table
decision).

Petitioner did not appeal to the United States Supreme Court.

The Michigan Supreme Court denied the application because it
was not persuaded that the questions presented should be ceviewed
ley the Couct. People v. Ingram, O40 W.W.2d 336 (Mich,
2013) (unpublished table decisien).

Petitioner did aot appeal to the United States Supreme Court |
Rather, he £iled a petition for habeas welief with this Court oy
Maren 20, 2015, aleng with a metion Lo stay so petitioner could
exhaust a claim that trial counsel had been ineffective, (Docs. 5:
dea.)

This Court entered an order staying the case so pekitioney
could return to state court and exhaust additional claims. (Doc.
#5); Ingram v. Barrett, 2015 WL 1966470(E.D. Wich. Aprii 29;
2015).

Petitioner returned to the trial court and filed a motion fort
telief from judgement, which contained habeas claims IV-X and 4
claim that Michigan's Sex Offender Registration ACY

unconstitutional as cruel and unusual punishment.

 
OF

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The trial court denied the motion for celie£ from judgment on
the merits. People v. Ingram, No. 08-031317-FH. Saginaw County
Cir. Ct. Order(Dec. 1, 2015).

Petitioner next filed an application for leave Lo appeal in
the Michigan Couct of Appeals. The Michigan Court of Appeald
denied the application for leave te appeal pecause defendant
failed to establish that the trial court erred in denying hid
motion Lor relief judgment. People v. Ingram, No. 332098 Mich.
Ct. App. Order (July 25, 201G).

Petitioner applied for leave to appeal this decision in thd
Michigan Supreme Ceurt but was also denied velief under Mich. Gt.
Rule 6.506(D). People v. Ingram, 888 N.W,2d 97(Mich, Jan. 5,
2017) (unpublished table decision).

On February 3, 2017, petitioner returned to this Courk with a
wokion to Lift the stay and with an amended petilion.(Does. #64
7) This Court subseyuently entered an order lifting the stay and
requiring the State to respond to the petitioner's amended
petition.(Doc. $9)

Habeas Corpus Standard of Review
Pursuant to 28 U.S.C. 9 2254

Pursuant to the Antitecrocism and Effective Death Penalty Act
of 1996 ({ABDPA), codified at 28 U.8.C. § 2254, in reviewing 4
state prisoner's application for writ of habeas corpus, thid
couct shall not grant the petition om any claim that wad
adjudicated on the merits in State court proceedings unless the

adjudication of the claim:

(1) resulted in a decision that was contrary to, or
involved an unreasonable application, of clearly

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established Federal law, as determined by the
Supreme Court of the United States; er

(2) resulted in a decision that was based on an
unreasonable determination of the facts in light of
the evidence presented in the State court
proceedings.

28 U.S.C. § 2254(a)(1) and (2).

Additionally, accordance with § 2254(e)(1), the applicant
bears the burden of rebutting the presumption ef correctness bry
clear and convincing evidence where the State court made la
finding on the factual issues.

Therefore, federal courts are bound by a state court's
adjudication of a petitioner's claims unless the state court's
decision was contrary te or invelved an unreasonable application

of cCleacly established law. Franklin v. Francis, 144 F.3d 429

 

(6th Cir. 1998). Additionally, federal habeas courts must presume
the correctness of state court £actual determinations. Cremeans
v. Chapleau, 62 F.3d 167, 169 (6th Cir. 1595).

The Supreme Court in Williams v. Taylor, 529 U.S. 362 (2000),

anneunced the rule of analysis that federal courts are to use

fa

when reviewing a petition for habeas corpus pursuant to § 2254),
The Supreme Court held that the AEDPA has stated that clearly
eStablished federal law is the law that is established at thie
time the state conviction bécame final. Id.,, 529 U.S, at 3&0,

In Gefining the contrary to requirement, the Supreme Court

stated there are two separate analysis a federal court of review

Nost use Chal, if Cound apparent, would justify the granting of b

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habeas petition. The first analysis under the contrary to clause

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to

 
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States that [a] state court deeision will certainly be conkragy
to cur clearly established precedent if the state eourt applies la
Rule that conteadiets the governing law set forth in our cases,
Ldeg, at 408,

secondly, the Williams Court stated [a] state-court deciaidgn
Widl also be contrary to this Court's clearly establishdd
precedent if the state court confronts a set of facts thak Aue
Malerially indistinguishable from a decision of this court aud
nevertheless arrives at a cesult different form ouc precedentad
IGe,, at 406.

The court in determining the unceasonable application af

clearly established Federal Law clause state:

That state-court judgements, must be upheld unless,
after the. closest examination of the setate-couct
judgment, a Cederal court is Cicwily convineed that a
federal constitutional ight has been violated. Our

i
difference is as to the cases in which, at first Dlush,
a sfate-court judgment seems entirely reasonable, but

  

therough analysis by a federal court produces a fLirm
conviction that that judgment is infected by erroneous
judgment is unreasonable within the meaning of the Act
even though that conelusion was not immediately
apparent. Id.,, at 389.

The Supreme Court further stated the statute directs federal
courts to attend te every state-court judgment with the utmoglk
care, but it does nok require them to defer to the epinien of
every cveasonable state-court judge on the content of federal law,
de, And, that after carefully weighing all the reasons Lop

accepting a state court's judgment, a federal courk is convincet

eet

that a prisoner's cuskedy...vielates the Constitution, Chat.

independent judgment should prevail. Id.,

 
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fm other words, a federal court may grant relief when @ state
ccurt has misapplied a ‘governing legal peineiple’ to ‘a set ak
facts different from these ef the case in which the principle was
announced', Wiggins v. Smith, 539 U.S. 510, 520 (2003) (citing
Lockyer v. Andrade, 535 U.S. 63, 76 (2003)).

the Supreme Court in Panetti v. Quarterman, U.S. ; la?

 

S. Ct. 2842 (2007), nas upheld the ruling that the AEDPA does nat
‘require state and federal courts to wait fer sone pneacly

identical factual pattern before a egal rule must be applied!’

Id.,, 127 5S. Ct. at 2858 (citing Carey v. Musladin, 549 U.S. wd
27 3, Ch. 649, 656 (2006)). In this culing, the Supreme Court
has gvranked the fedexal courts more latitude in waking the
determination, without identical facts, that a defendant's

constitutional sights have been violated during the stake courk

criminal proceedings.

}

Lastly, the Supreme Court has reemphasized that a obate
court's application of clearly established law is acceptable,
even 4f£ it is Likely ineorrect, so long as it is reasonable,
Weight v. Van Patten, —— U.3&. 1, L265 5. Ck. 743 (2008).

COUNTER ARGUMENT

i, Petitioner rejects Respondent's claim and asserts
that the evidence to support his convictions was
insufficient and objectively unreasonable under the
highly deferential standard of Jackson v. Virgina
and 28 U.S.C. § 2254.

Petitioner's original habeas claim is that the evidence
Supperting his convictions was insufficient.

Respondent simply states that the Michigan Court of Appeals

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considered this claim and denied it on the merits Stating that

ry

the court used the correct constitutional standard in a nanng
that was not objectively unreasonable: And Simply reiterated the
PER CURIAM. Unpublished Opinien. (July 16, 2013)(People vw.
Ingram, 2013 WL 3717793, at*1-2

This werits adjudication neither conteadits nor conna nds

FF.

unteasonably applies Supreme Court Case law.

Due process commands a directed verdict of acquittal when
sufficient evidence to justify a cational trier of fact if
finding guilt beyond a reasonable doubt is lacking dif the
evidence preseated by the prosecution is insufficient Co Juatily

B

a reasonable Crier of fact to find guilt beyond a kreasonabl4

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doubt. Lemmon @ 633-634,

Under the circumstances, no reasonable jurer could have
concluded that Petitioner could have committed the Sexual assault
ag described. Simply put, the petitioner did net have enough
available hands to censtrain the arms ef the victin as ohe
described the alleged assault as it was taking place. At one timd
she testified before the jury that her arms were being restrained
(both arms), her breasts were being forcibly touched and/oz
beaten such that bruising remained and - - througheut thig
claimed onslaught - - her pants were forcibly pulled down and shad
was fLorecibly entered £rom pehind.

The record is withouk any evidence 22 SUppork khe
determination that the petitioner could have cestrained che
plaintiff in this way, in this manner and for the length of time

a& would have been required to have constituted a sexual assavlk

~ 23 =

 
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in he orm of either penetration by Loree = ~ resulting in

Vhakmed commision ef khe ariwe of Griminal Sexual conduct in th

me ARS

Jed Degree or, for that matter, offensive and forceful sexual,

touching of the cammission of ceiminal sexual conduet in the de

Deyver.

Clearly Established Federal Law

‘The "clearly established Federal law" ak issue whe
petitioner asserts the evidence was insulticient is Jaekson v
Virginia, 443 U.S, 307, 318(1979). See Coleman v. Johnson, 132 ©

“ihew-evidence Claiws Gh tabeas review under § 2254(a)).

Wh dbeectk Pveview ihe Ceilical dnguiey on ceview of thid

HULELCLenGy of the evidence to suppock a criminal conviutien Le

“whether the cecord cvldence coud heacgeonably euppork a LCincing

agnavle Goubk." Jackson, 443 U.S. ak 315]

 

Due process requires that "each element of a crime be prave

the jury beyend a reasonable doubi." Alleyne v. United States,

at

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38. Chk. BIS],

 

26(2013). The Jackson inquiry, however coed
nek veguire a court te “ask itself whether it believes tha

evidence at the trial established guilt beyond a teasonabia

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Goubt.

Inetead, the celevant question is whether, after viewing
the evidente in the Lighk most £Laveravle to the prosecution, any
ralboual tview Of Lact could have Found the essential elements ef
Lue Gedme beyoud a reasonable doubt. Jackson, 443 U.S. ab 318
l9(iatecnal cilalion and Lootnote omiteed)(@uphasis jin origiual).

dine Supreme Court vecently chavactexriazed the Jackson standard as

eequdvang a defendant to show that the ‘jucyv's Verdict “was sa
oY al

be 2000, 2062(2012) (per curcian)(Jackson applies to Oubliciencys

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insupportable as to Call below the threshold oc bare
rationality.” Coleman, 132 S. Ct. at 2065. Even at the first
devel of deference, the Jackson standard is so demanding that
"{a] defendant who challenges the sufficiency of the evidence to
sustain his conviction faces a nearly insurmountable hurdle.'
Davis v. Lafler, 653 F.3d 525, 534 (Gth Cir. 2011) (en bane).

When a federal habeas petitien challenges the sufficiency of
the evidence tO Support a State-court conviction, AEDPA
establishes a standard that is “twice-deferential." Parker vj

Matthews, 132 S. Ct. 2148, 2152(2012). Accord Nali v. Phillips

 

O31 F.3d 837, Gd4l(6th Cie. 2012) (explaining that the Jackso
Slandard “requires deference to the jury's verdiet and te th
atate court's rveview of that verdict."). This kwice-delerentia
standard "does not permit a tabeas court to engage in a inet
geained Lactual parsing.” Coleman, 132 &.Ct. at 2064.

Under AEDPA, challenges to the sufficiency of the evidence
must Survive "two layers of deference to groups who might vie
facts diflerently"-the factfinder at trial and the atate court on

appellate veview-than a reviewing ceurk on habeas veview., Brow

 

ve Konteh, 567 F.3d 191, 205 (6th Cir. 2009). Petitioner
understands Uthat even if a federal court finds that ne rational
jury could have convicted the defendant, the habeas court must

"still defer to the state appellate court's sufficiency

determination as long ag it is not unreasonanle." Td,

=

For the same ceasons that Petitioner should be entitled to &

divected verdict of acquittal, ii the state court on appellat¢

sa

eeview and now, on habeas review given that the verdict wag

 
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against the yveakt weight Gf the evidence, the petitioner is at a
wind entitled to a ew trial.
AS sel fort above, the petitioner could net have committed
the effenses in the manner in which the victim deseribed them.
& verdict tiay be vacated when the evidence does not
reasonably support it and it was more likely that the result of

cause outside the record, such

ice

8 passion, prejudice, sympathy,
er some other extranecus influence was the cause of the verdict.

People v. Plummer, 229 Mich App 293, 306; 581 NW2d, 753 (1998).

In Lois tustance, che pekitioner's Own Leal imony
~specifically, the cross examination - - feeused upon thea
ehiciling of bestimony regarding the petitioner's status as a
Womaniaer OF persunage atkeackive ta women. To ouk another way,
the Gross examination fecused on womanizing behavior which would
lead the jury te diglike the petitioner - - so much sO as td
cause them to convict him of crimes that the People did not preva
him beyond a reasonable doubt to have committed. Specifically,
the petitioner's own testimony in this regard focused the jury on
the issues ef prejudice, passion or some other extraneoug
influence against hiw. Por rceasons set Lorth in Plummer, supra,
such an evaluation by the jury was limproper.

Por these reasons, the verdict resulted in a wiscarriage of
justice.

Finally, the respondent argues that on habeas review, gd
federal court does noi reweigh the evidence or reassess th@q

credibility of the witnesses whose demeanor was observed «al

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had
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Case 2:15-cv-11074-DML-DRG ECF No. 12 filed 04/24/17 PagelD.929 Page 36 of5

teial. Marshall v. Lonberger, 459 U.S. 422, 434(1983). "Tk is th
peovinee of the Cact&Linder,...to weigh the prevative value of th
evigence and resolve any conflicts in the testimony." Neal v
Morris, 272 F.2d 675, O79 (Gth Cir. 192924).
Analysis
A. Insufficient Evidence Existed to find that All

Elements of the Charged Offenses were Proven Beyond
a Reasonable Doubt

 

At the time of trial the People must prove every element o
the charged offense beyond a reasonable doubt. People v. Gadson

448 Mich 307, &3 NW2ad 227 (195

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Under the Giveumstlances, no reasonable juror could hav¢

concluded that Charles Ingram could have committed the serua
agsanlt as desearibed. Simply put, the defendant did nok hav
radia the arms of the vickim as sh

enough available hands to consk

  

t

degecdbed the alleged aggault as it was taking place. Ati one Lim

 

she testified befere the jury, that her arms were bein
vestrained(boeth arms), her breasts were ‘being fercibly touche
and/or beatem such that bruising remained and--througheut thi
claimed onslaught--her pants were forcibly pulled down and &h

was Lorcibly entered Crom behind.

er
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The record is without any evidence bo Support

determination that Petitioner could have vresteained the plaintil

in this way, in this wonner and for the length of Lime as would
have been cequired bo have canstituted a sexual asgeanlt in che

form of either penetration by Force ~- - vesulting in a Glaimep

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commission of the erdme of eriminal sexual conduct ain the re

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Case 2:15-cv-11074-DML-DRG ECF No. 12 filed 04/24/17 PagelD.930 Page 37 of5

degree or, for that matter, offensive and forceful sexual
touching of the commission of criminal sexual conduct in the 4th
Jegree.

Moreover, the description of Ma. Johnson's claimed yelling
aline discvedits the claim that a reasonable juror could hava
found that the prosecution demenstrated forceful and/or unwanted
physical touching. It is worth noting that:

L. Miss Johnsen testified she sereamed to the point
that her threat became sore, noting that it was
“hurtin'";

ae The house was small enough that a knock at the front
door was capatvle of being heard clearly;

3. Yet, Janmes Allen testified that he heard no
sereaming, nor was the alleged victim upset, mad nor
had she been crying.

&
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B. The Defendant is Entitled to a Directed Verdict of Acquittal
Due process commands a direeted verdict of acquiltal wher
sufficient evidence to Justify ai vational trier of fack in
Cinding guilt beyond a veasenable doubt is lacking. People v4
Hampton, 407 Mich 254, 366; 285 Ww2d 204(1979). If the evidenced
peesented vy the prosecution in the Light most favorable ta thd

4 5

prosecution, up to the tine the motion is wade, is insufficiend
ta Jjuetily a reasonable trier of fack to find guilt beyond 4g
weaSonable doubt, a Girected verdict ar judgment of acquittal
must be entered. Id ai 368.

As noted avove, the prosecution never proved beyond 4
reasonable doubt Ehat the intercourse was caused by restraint,
force or coercion. As such, the People did not prove guilt beyond

a <easonable doubt. The motion for directed verdict wag

 
Case 2:15-cv-11074-DML-DRG ECF No. 12 filed 04/24/17 PagelD.931 Page 38 of 5

dipeaperly denied,

Il.

THE VERDICT WAS AGAINST THE GREAT WEIGHT OF THE
EVIDENCE AND THE TRIAL COURT ERRED IN FAILING TO GRANT
A_NEW TRIAL

Analysis

A. The Verdict was Against the Great Weight of the Evidence

A conviction may be considered to be againsk the great
Weight of the evidence where the evidence preponderates
heavily against the verdict and serious miscarriaye of

 

justice would otherwise vesult should the ve
Kamain wundishurbe
642; 576 HWed(199%

edict
i. People v. Lemmon, 455 Mich G25,

    

A verdich may be vacated when the evidence does not
reasonably support it and it was more likely that the
result of causes outside the record, such as passion,
prejudice, sympathy, or some cther extraneous influence
was the cause of the verdict. People v. Plummer, 22°
Mich App 293, 306; 501 NW2d, 753 (1998).

in this inalance , the defendant's Owrl test imony-~
specifically, the cross examination-~focused upon the eliciting
of testimony regarding the defendant's status as a womanizer er
personage attractive to women. Put another way, the cross
examination Locused on womanizing behavior which would lead the
jury to dislike the defendant--so mush so as to cause them to
convict him of crimes that the People did not prove him beyond a
reasonable doubt to have committed. Specifically, the defendant's
own testimony in this wegard feecused the jury on issues of
prejudice, passien er veme other extraneous influence ogainst
hiti. Por keasons sek forth in Plummer, supra, sucir an evaluation.
by ihe Jury was improper.

Por these reasons, the verdieck resulted) dio a miscarriage of

Justice.

 
Case 2:15-cv-11074-DML-DRG ECF No. 12 filed 04/24/17 PagelD.932 Page 39 of 5

APPENDIX A

Memorandum of Law

 
Case 2:15-cv-11074-DML-DRG ECF No. 12 filed 04/24/17 PagelD.933 Page 40 of 56

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STATE OF MICHIGAN
IN THE CIRCUIT COURT FOR THE COUNTY OF SAGINAW

PEOPLE OF THE STATE OF MICHIGAN
Case No. 08-31317-FH

Plaintiff,
HON. ROBERT L. KACZMAREK

CHARLES DEXTER INGRAM,

Defendant.

 

 

SAGINAW COUNTY PROSECUTOR
Attorney for Plaintiff

SMITH BOVILL, P.C.

DAVID D. HOFFMAN (P42025)
Attorney for Defendant

200 St. Andrews Rd.
Saginaw, MI 48638

(989) 792-941

MOTION IN LIMINE AS TO EVIDENCE OF THE VICTIM’S SEXUAL
CONDUCT PURSUANT TO MCL 750.5295

NOW COMES Defendant, CHARLES D. INGRAM, by and through his attorney, DAVID D.
HOFFMAN, and for his Motion In Limine states as follows:

1. That Defendant is charged with Count 1-CSC-Third Degree-Force or Coercion; Count 2-
CSC-Fourth Degree; Count 3-CSC-Fourth Degree.

2. That the alleged victim is Bobbie Suette Johnson, d/o/b 10-23-90.

3. That Defendant has just discovered evidence related to the victim’s sexual conduct which
is clearly material to this case.

4. That in preparing for trial the Defendant and his counsel have learned from several
witnesses, subpoenaed for trial, information as it relates to the victim’s sexual conduct.

 
Case 2:15-cv-11074-DML-DRG ECF No. 12 filed 04/24/17 PagelD.934 Page 41 of 56

5. That Defendant has also revealed to his counsel new evidence as it relates to the victim’s
sexual conduct with Defendant which is relevant and material pursuant to MCL 750.520]

(1) (a).

6. That Defendant’s current counsel was retained approximately 1% -2 months following
Circuit Court Arraignment.

' 7. That this evidence of victim’s sexual conduct will come out at trial of this matter through
several different witnesses, both prosecution and defense and the Court will have to deal
with it at that time if it is not dealt with prior to trial.

8. That Defendant is requesting an in camera hearing on the admissibility of this evidence
pursuant to MCL 750.520).

WHEREFORE Defendant, CHARLES D. INGRAM, respectfully requests an Order allowing the
evidence of the victim, Bobbie Johnson’s sexual conduct, opinion and reputation evidence of
that sexual conduct to be admissible at trial following an in camera hearing before this Court,
plus such other and further relief as is just and equitable.

Dated: July 20, 2011 Respectfully requested,

Cul fg

DAVID D. HOFFMAN (P42025)
Attorney for Defendant

 

CERTIFICATE OF SERVICE
The undersigned certliles that the foregoing instrument was
served upon afl partes to the above cause to each of the attorneys
of record hereln at thelr ective addresses disclosed on the

 

 

pleadings on -~4AO 20 {¢
PREPARED BY: * Hon Delered a Overight Courter
° extified Mall Other:
SMITH BOVILL, P.C. ven Lvl HI tA
BY: DAVID D. HOFFMAN(P42025)
Attorney at Law OY

200 St. Andrews Rd.
Saginaw, Michigan 48638
(989) 792-9641

 
Case 2:15-cv-11074-DML-DRG ECF No. 12 filed 04/24/17 PagelD.935 Page 42 of 56. . 4

 

STATE OF MICHIGAN
h THE CIRCUIT COURT FOR THE COUNTY OF SAGINAW
PEOPLE OF THE STATE OF MICHIGAN
Case No. O8-213217-FH
Plaintitt,
HON. ROBERT L. KACZMAREK ee
V. o
CHARLES DEXTER INGRAM,
f Defendant, .
/ ‘
SAGINAW COUNTY PROSECUTOR ey
Attorney for Plaintiff :
AT |

SMITH BOVILL, P.C. . ., OOM
DAVID D. HOFEMAN (P42025) a uo, :
Attorney for Defendant

200 St. Andrews Ra.

Saginaw, MI 48638

(983) 792-944

MEMORANDUM OF LAW

The Defendant filed a Motion in Limine pursuant to MCL 750.520). (Michigan’s Rape Shield
Law) to admit certain evidence of the victim, Bobbie Sue Johnson’s, past sexual conduct,
opinion evidence of that conduct and reputation evidence of that sexual conduct.

A hearing was held on Friday, October 14, 2011 before the Court whereby Defendant made
an offer of proof as to three (3) witnesses who would testify as to victim’s past sexual conduct
and/or reputation and opinion evidence of that conduct. Defendant’s written Motion in Limine
also raised past sexual conduct between Defendant and victim which Defendant wished to
admit at trial. Defendant's testimony in this regard would establish that the parties had sexual
relations in the same manner and in similar circumstances to the sexual conduct at issue in this

criminal charge.

Defendant would argue to this Court that, pursuant to the relevant caselaw, clearly the past
conduct between Defendant and victim would be admissible at trial. See Michigan v. Perkins,

 
Case 2:15-cv-11074-DML-DRG ECF No. 12 filed 04/24/17 PagelD.936 Page 43 of 56

424 Mich 302, 379 NW2d 390 (1986) Perkins held that evidence of prior sexual conduct
betweeri complainant and defendant was admissible where events on two (?) occasions in
question were similar, and excluding testimony would have deprived defendant of defense of
consent. Defendant in the instant case is relying on the defense of consent. See alsa Feaple vy, !
Hackett, 421 Mich 335, 365 NW2d 120 (1984). Further, MRE 404 (a}(2) provides an evidentiary
exception in a criminal sexual conduct case, allowing for admission of evidence of the alleged
victim's past sexual conduct with the defendani pursuant to MCL 750.520) (1){a) “Evidence of
the victiny’s past sexual conduct with the actor”. Statute attached herto at Exhibit 1.

As to the victim’s past sexual! conduct with third parties, Detendant would cite to this Court
Peapld v. Ivers, 459 Mich 320, 587 NW2d 10 (1998) and People v. Hackett, 421 Mich 338, 365
NW2d 120 (1984). The Ivers Court held that complainant statements about wanting sex and
finding a guy were relevant to complainant’s state of mind and the ultimate issue of consent,
and those statements were not excludable because they did not, “amount to or reference
specific (sexual) conduct”.

The three (3) witnesses Defendant sought trial testimony from were:

1. John Moten, former police officer and Supervisor of Leroy Shepard, who had

discussions with the victim about her stalking Mr. Shepard.

Leroy Shepard, security guard, who had causal sex with the victim after knowing her for

one (1) week; wrongfully accused him of impregnating her; and then stalking him;

3. James Maxwell, (a listed prosecution witness) who would testify that the victim “would
hit on anyone” and tried to “get with him’.

Re

_Pursuant to Ivers, Mr. Maxwell’s testimony should be admissible as those statements did not
“amount to or reference specific (sexual) conduct”. Pursuant to Hackett, Mr. Shepard’s
testimony should be admissible as his statements regarding the victim's conduct with him go to
the victim’s, “ulterior motive for making a false charge or prior false accusations of rape”,

Defendant would respectfully request that this Court enter an Order allowing the testimony
of Defendant as to past sexual conduct between Defendant and victim Bobbie Sue Johnson, and
allowing testimony of witnesses, John Moten, Leroy Shepard and James Maxwell, as above
Stated for the reasons stated above.

 
Case 2:15-cv-11074-DML-DRG ECF No. 12 filed 04/24/17 PagelD.937 Page 44 of4

Deteg: October 2G, 7013

PREPARED BY:

SMITH BOVILL, P.C.

BY: DAVID D, HOFFMAN(P42025)
Attorney at Law

200 St. Andrews Rd.

Saginaw, Michigan 48638

(989) 792-964]

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Respectfully requested,

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DAVID D. HOFFMAN ( (pags)
Attorney for Defendant

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Case: RidGr Crt 2ORA:DMlePRGs RE No. 12 filed 04/24/17 PagelD.938 Page 49,0f

 

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MCL Chapter Index

   
 

ti Chapter 750
Act 328 of 193)
&y 328-1931-LXXVI /

Section 750.520)

 

  

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Initiatives
Joint Resolutions
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Public Acts (Signed Bills)
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Laws
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Req Repealed Acts
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PLETE Recicbe moa Locdri Rew! bbe ty
" MeGreter .
Mawiiation Section 750,520;
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THE MICHIGAN PENAL CODE (EXCERPT)
Act 228 of 1035

750.520j Evidence of victim's sexual conduct.

Sec. 520].

(1) Evidence of specific instances of the victim's sexual conduct,
opinion evidence of the victim's sexual conduct, and reputation
evidence of the victim's sexual conduct shall not be admitted
under sections 520b to 520g unless and only to the extent that
the judge finds that the following proposed evidence is material
to a fact at issue in the case and that its inflammatory or
prejudicial nature does not outweigh its probative value:

(a) Evidence of the victim's past sexual conduct with the actor.

~ (b) Evidence of specific instances of sexual activity showing the

source or origin of semen, pregnancy, or disease.

(2) If the defendant proposes to offer evidence described in
subsection (1)(a) or (b), the defendant within 10 days after the
arraignment on the information shall file a written motion and
offer of proof. The court may order an in camera hearing to
determine whether the proposed evidence is admissible under
subsection (1). If new information is discovered during the
course of the trial that may make the evidence described in
subsection (1)(a) or (b) admissible, the judge may order an in
camera hearing to determine whether the proposed evidence is
admissible under subsection (1).

History: Add. 1974, Act 266, Eff, Apr. 1, 1975
Constitutionality: This section, the rape-shield law, is not
unconstitutional. People v Arenda, 416 Mich 1; 330 NW2nd 814
(1982).In Michigan v Lucas, 500 US 145; 111 S Ct 1743; 1141
Ed2d 205 (1991), the United States Supreme Court held that the
Michigan Court of Appeals had erred in adopting a “per se rule”
that the notice-and-hearing requirement of Michigan's rape-

 

 

 

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Gase.2:1 +N; v-41074- DML- DRG, EGF No. 12 filed 04/24/17 PagelD.939 Page 46 of $6.

 

Bills a [ol shield law violated the Sixth Amendment to the United States
a Constiution in all cases where it was used to preclude evidence
Meetings af past sexual conduct between @ rape victim and a onan

Laws a (o3 (see People v Lucas, 160 Mich App 692; 408 NW2ce 431 (1987)).
ge The Court found that the statute “serves legitimate state
Recenthy Viewer interests in protecting against surprise, harassment, and uncuc
rel 750 G20) delay. Failure to comply with this requirement may ... justify

even the severc sanction of preclusion.”

Compiler's Notes: Section 2 of Act 266 of 1974

provides: “Saving cluuse. “All proceedings pending and all rights
and liabilities existing, acquired, or incurred at the time this
arnendatory act takes effect are saved and may be consummatec
according to the law in force when they are commenced. This
amendatory act shall not be construed to affect any prosecution
pending or begun before the effective date of this amendatory

act.”

 

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Case 2:15-cv-11074-DML-DRG ECF No. 12 filed 04/24/17 PagelD.940 Page 47 of 56

APPENDIX B

Opinion and Order

 
Case 2:15-cv-11074-DML-DRG ECF No. 12 filed 04/24/17 PagelD.941

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SPATE OF MICHIGSAS “OL

IN THE CIRCOLY COURT FOR THE COUNTY OF SAGINAW
PEOPLE: OF PHE SPATE OF MICTUGAN
Plaintlf.
\

Pile No. G83 12 17-FH-2
CHARLES DEXTER INGRAM,

Defendant.
/
OPINION AND ORDER

Ata session of said Court, held at the Court House in the City of Saginaw, County
of Saginaw, and State of Michigan, this 9" day of November, 2011.

PRESENT: THE HONORABLE ROBERT L. KACZMAREK, Circuit Judge.

Defendant files this Motion in Limine as to Evidence of the Victim’s Sexual
Conduct Pursuant to MCL 750.529().

The Court, after reviewing the authorities cited by the parties, denies the motion

ITIS SO ORDERED.

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| UMA
ROBERT L. KACZMAREK,
JUDGE, lOTH JUDICIAL CIRCUIT

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Susan Kaltenbach, Clarke

 
 

 

Case 2:15-cv-11074-DML-DRG ECF No. 12 filed 04/24/17 PagelD.942 Page 49 of 56
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SUSAN KALTENBACH oye
COUNTY CLERK iy a i:
Governmental Center ‘ata a Like’ .
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Saginavy, Michigan 48602 oe me

Phone 989-790-5251 © TDD 989-790-5568

 

 

 

 

 

HAZEL L. LEWIS, DEPUTY COUNTY CLERK Phone 989-790-8544

March 6, 2013

Michigan Court of Appeals
925 W. Ottawa St.
Lansing, MI 48909

RE: People v Devon Shivers COA #305426 L.C. #10-035084-FC
People v Forfeiture COA #310106 L.C. #08-900017-CF
People v Deon Lindsey COA #310503 L.C. #11-036235-FH
People v Jimmie Harrison COA #311288 L.C. #11-036152-FC
People v Charles Ingram COA #309035 L.C. #08-031317-FH
People v John Beemer COA #313602 L.C. #11-036498-FH

Dear Sir or Madam:

Per your request enclosed are complete file(s), transcript(s) and register of actions on the
above referenced case(s).

For further assistance, please do not hesitate to contact me.

Aeshectiully, Nor

SAhee ae AG yD
Hazel i. he fe
Deputy County Clerk

   

Enclosure
cc: file

 
Case 2:15-cv-11074-DML-DRG ECF No. 12 filed 04/24/17 PagelD.943 Page 50o0f5

UNITED STATES OF AMERICA
UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF .MICHIGAN
SOUTHERN DIVISION

 

 

CHARLES DEXTER INGRAN,
Petitioner, Case No, 2:15-11074
"Vor Honerable DAVID iM. LAWSON
JOR BARRETT,
Respondent.
Stant Attorney Genecal Petitioner, In Pre se
Lruce Kh. Bdwards, CHARLES DEXTER LNGRAM €825646
Criminal Appellate Division Cooper Correctional Paciliiy
P.O, BOK 30217, 2100 Cooper Street
Lansing, Michigan 48909 Jackson, Michigan

42 20)

 

Notice ef Response to Respondent's Opposition to Amended
Petition For Write Of Habeas Corpus
Under the Filing ef Rule 5 Materials
Index ef Record
Certificate of Service

RO: Agsiatance Attorney General
Criminal Appellate Division
PeaGo BOX 30217
Lansing, Ml 4909

  

PLEAGK TAKE MOPTCE that a copy of Petitioner's Response tea
Respondent 's Rule 39 Material In Opposition to Amend Petitioners |
Weil OL Habeas Corpus is hereby being served upon the Clerk of
the United States District Court for the Bastern District ef
Michigan, Southern Division, as set forth im the attached index

af Record,

Respectfully submitted,

     

Charles Ingram, 6025646

Cooper Street Correctional Facility
3100 Cooper St.

Dateads April, te ORG Jackson, MI 4920]

 
Case 2:15-cv-11074-DML-DRG ECF No. 12 filed 04/24/17 PagelD.944

Index of Record

22:15-CV-1174

1. Saginaw County Docket Sheet 08-031317~-Fu
2. O8-21-2008 Preliminary Examination Transcript
ae O9-1L5-2008 Circuit Court Arraignment Tr
4. JO-15-2008 Motion Transcript

Oo. Lh-29-2011 Jury Teial Vr 1

@. Ll-30-2011 Jury Trial tre II

7. dé-O1-2011 Jucy Trial Tr Ii

8. 12-02-2011 Jury Trial Tr IV

9- 01-30-2012 Sentencing Transcript

190. 10-Q1-2012 Motion Transcript

ll. Michigan Court of Appeals 309035

12. Michigan Supreme Court 147683

13. 06-01-2015 Motion For Relief From Judgment

14. 09-17-2015 Answer to Notion for Relief Prom Judgment

15. 09-30-2015 Reply to Answer to Motion Fro Relief From!

Judgment,

16. lé2-01-2015 Opinion and Order of the Court denying MRI

47. Michigan Court of Appeals 332098

18. Michigan Supreme Court 154300

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Case 2:15-cv-11074-DML-DRG ECF No. 12 filed 04/24/17 PagelD.945 Page 52 of 56

Certificate of Service
L hereby certify that on April [#%, 2017, 1 Charles Ingram

Petitioner state that on this day he served, Respondent a true
and accurate copy of Petitioner's Response to Respondent's Answer
in Opposition to Amend Petitioner's Writ of Habeas Corpus, by a
person in State Custody to the following address:

Assistance Attorney General

Criminal Appellate Division

P.O. Box 30217

Lansing, MI 48909

(517)373-4875

Edwardsb8Cmichigan.gov
~ P34983

Pursuant to 26 U.5.C 9 2254, and Rule 5 Material, in conformity
with MbOC Rules, Policies, and Procedures through the Expedited
Legal Mail System by placing the same into the hands of Prison
Officials in a properly addressed unsealed envelop, and "sealed
after inspection", with postage full prepaid, and assuming Priseor
Facility Officials placed same into the U.S. Mail Box, in the
City of Jackson. And (1) Oviginal and (1) true accurate copy of

the same was mailed te;

HONORABLE DAVID NM. LAWSON, MAGISTRATE JUDGE DAVID R.
GRAND, ats

U.S. District Court, For The Eastern District of
Michigan, Theodore Levin United States Courthouse, 231

W. Lafayette Blvd., Detriot, M1 48226,

Respectfully submitted,

  
          

SPM AL ALE CWE Del —
Chatles Ingraw, #825646
Cooper Street Correctional Pacility
3100 Cooper St.

Dated: Apeil, }F. 2017 Jackson, MI 4920]

 

D

 
Case 2:15-cv-11074-DML-DRG ECF No. 12 filed 04/24/17 PagelD.946 Page 53 of 56

CHARLES DEXTER INGRAM #825646
Petitioner, In Pro se
Cooper Street Correctional Facility
3100 Cooper Street
Jackson, Michigan 49201

April Lz: 2017
TO: HONORABLE DAVID M. LAWSON, & MAGISTRATE JUDGE DAVID R. GRAND,
U.S. District Court,
Eastern District of Michigan,
Theodore Levin United States Courthouse,

231 W. Lafayette Blvd.,
Detriot, MI 48226.

RE: PETITIONERS RESPONSE TO RESPONDENTS ANSWER IN OPPOSITION TO
AMENDED PETITION FOR WRIT OF HABEAS CORPUS Case No. 2:15-
11074.

Dear Court Clear,

Please find, (1) Original Pleading, "Response by Petitioner's
Charles Ingram, Notice of Response to Respondent's Opposition to
Amended Petition For Writ of Habeas Corpus Under Rule 5
Materials, Index of Record and Proof of Service.

Would you please be so kind to file in your usual manner. If
there happens to be any deficiency' please notify and return to
the address cited above and Petitioner will amend/correct and

return as soon as possible.

Thank you for your time and consideration in this matter.

Respectfully submitted,

Charles Ingram, #825646
Cooper Street Correctional Facility
3100 Cooper St.

Dated: April, {|}, 2017 Jackson, MI 49201

 
Case 2:15-cv-11074-DML-DRG ECF No. 12 filed 04/24/17 PagelD.947 Page 54 of sh

RELIEF

For the reasons stated above and herein, this case demands
review and Petitioner's Writ of Habeas Corpus should issue as the
means of justice warrant it.

This Court should also GRANT any discovery, evidentiary
hearing, bond, oral argument, and any other relief this court
deems appropriate including, but not limited to, a certificate of
appealability.

Respectfully submitted,
' a
Charles IngramJ #825646
Cooper Street Correctional Facility

- 3100 Cooper St.
Dated: April, [A 2017 Jackson, MI 4920]

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